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EXHIBIT O

UNITED STATES DISTRICT COURT
DISTRICT OF NEVADA

Drew J. Ribar,

Plaintiff,

Vv.

State of Nevada ex rel. Nevada Department of Corrections, Carson City, et al.,
Defendants.

Case No. 3:24-cv-00103-ART-CLB

EXHIBIT O — Ten-Year Log of Deleted, Hidden, and Edited Social Media

Comments

(Bates No. EX033)
Filed in Support of Amended Complaint and Summary Judgment Motion (Fed. R. Civ. P.

56)

Plaintiff Drew J. Ribar, pro se, submits Exhibit O, email string requesing public records request
from Carson City, reflecting approximately ten years of deleted, hidden, or edited comments on
official government social media pages. This includes activity by the Carson City Sheriff's
Office (CCSO), Public Works, and other municipal entities. Filed electronically per LR IC 2-2
with a Notice of Manual Filing, this exhibit stands alone as evidence of systemic censorship and
content suppression by Defendants and is cross-referenced with Exhibits C, D, E, F, J, K, L, and

M in support of Plaintiffs Rule 56 motion.

PLEADING TITLE - |

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Key Evidence and Legal Violations:

Section Incident

Ten-year record of
deleted/hidden/edited social

media comments by Carson

Comment

City government accounts.
Deletion

Includes criticism of arrests,
Log

misconduct allegations, links to
(EX033)

videos (e.g., Exhibit C), and
political speech by Plaintiff and

others.

Legal Relevance

First Amendment retaliation —
systematic suppression of
protected speech over time
violates clearly established
rights (O 'Connor-Ratcliff v.
Garnier, 144 8, Ct. 717 (2024):
Knight; Packingham;
Davison); Moneil liability
(Monell vy. Dep’t of Soc. Servs.,
436 U.S. 658 (1978));
viewpoint discrimination;
damage to Audit Reno and
A&A Towing (Umbehr,

Meyer).

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Cross-Reference

Exhibit C (video);
Exhibit E (threats);
Exhibit J
(complaint);
Exhibit K
(dismissal);
Exhibit L (recent
deletions); Exhibit
M (pre-deletion

notice)

Legal Claims Supported:

e First Amendment (42 U.S.C. § 1983): Decade-long pattern of content deletion and

blocking demonstrates censorship of public criticism in violation of clearly established

law.

PLEADING TITLE - 2

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¢ Monell Liability: Establishes a longstanding policy, practice, or custom of digital
suppression traceable to Carson City entities.

¢ Fourteenth Amendment (Due Process/Substantive Harm): Viewpoint-based deletion
without notice or appeal.

¢ State Law Claim (NRS 197.200): Oppression under color of law.

¢ Economic Harm to A&A Towing: Suppression of outreach affects public visibility,

marketing, and goodwill (Meyer v. Nebraska, 262 U.S. 390 (1923)).

Summary Judgment Purpose (Fed. R. Civ. P. 56):

Exhibit O’s ten-year deletion log (EX033) shows that Defendants engaged in long-term
censorship and digital retaliation against Plaintiff and similarly situated individuals. When
combined with Exhibits C, D, E, F, J, K, L, and M, these undisputed facts form a cohesive
narrative of retaliatory conduct violating Plaintiff's constitutional rights. No reasonable jury
could find that Defendants’ actions were justified or accidental, entitling Plaintiff to summary

judgment as a matter of law.

Authentication:

Per Fed. R. Evid. 901, Plaintiff will provide a sworn declaration authenticating the spreadsheet ag
received from a verified public records request to Carson City, with unaltered metadata,

confirming its reliability as a public record.

PLEADING TITLE - 3

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2
3 || Dated: March 27, 2025
4 ||/s/ Drew J. Ribar
> 1 Drew J. Ribar
6
3480 Pershing Ln, Washoe Valley, NV 89704
7
3 Tel: (775) 223-7899 | Email: Const2Audit@gmail.com
9
10
1! |) UNITED STATES DISTRICT COURT
12 DISTRICT OF NEVADA
13 || Drew J. Ribar,
Plaintiff,
14 Ty,
15 State of Nevada ex rel. Nevada Department of Corrections, Carson City, et al.,
Defendants,
16

Case No. 3:24-cv-00103-ART-CLB

19 || AFFIDAVIT OF DREW J. RIBAR IN SUPPORT OF EXHIBIT O

21 || (Public Records Request and Government Response — Social Media Deletion Data)

I, Drew J. Ribar, being of sound mind and over the age of 18, hereby declare under penalty of

24 || perjury as follows:

25

36 1, Personal Background:

27 I am the Plaintiff in the above-captioned matter and the author of the attached email
28 correspondence marked Exhibit O.

PLEADING TITLE - 4

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2. Public Records Request:

. Government Response:

. Authentication of Exhibit O and Exhibit N:

. Use in Litigation:

PLEADING TITLE - 5

On or about January 21, 2024, | submitted a formal public records request to Carson
City officials—including the District Attorney’s Office—seeking access to records
documenting any deleted, hidden, or edited comments on official Carson City and

Carson City Sheriff's Office (CCSO) social media platforms over the past several years.

On February 6, 2024, | received an official response from Deputy District Attorney
Adam Tully via email. This email contained an attachment labeled “10 Years -
Comments deleted, hidden, edited.xIsx”, which listed 11,653 instances of content
moderation (including deletions) performed on Carson City-operated social media pages,

dating from 2014 to 2024.

a. The email exchange attached as Exhibit O is a true and correct copy of my
correspondence with Carson City in connection with my request.

b. The spreadsheet produced in response, now submitted as Exhibit N , is an unaltered
electronic file that was downloaded directly from the link provided in the City's official
response.

c. | have personal knowledge of submitting the request, receiving the government’s reply,

and reviewing the records they provided.

I submit this affidavit to authenticate Exhibits N and O under Federal Rule of Evidence
901 and to support my amended complaint and summary judgment motion under Federal

Rule of Civil Procedure 56(c)(4).

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| 6. Truthfulness:
I declare under penalty of perjury that the foregoing is true and correct to the best of my

knowledge, information, and belief.

7 || Executed on: March 28, 2025

Location: Washoe Valley, Nevada

10 || /s/ Drew J. Ribar

Drew J. Ribar

3480 Pershing Ln

Washoe Valley, NV 89704
15 || Phone: (775) 223-7899

16 || Email: Const2Audit@gmail.com

PLEADING TITLE - 6

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3/28/25, 11:02 AM Gmail - Record Request Social Media Deletions
ee *
i» Gmail Const2Audit <const2audit@gmail.com>
Record Request Social Media Deletions
6 messages
Const2Audit <const2audit@gmail.com> Mon, Jan 22, 2024 at 11:20 AM

To. recordrequests@carson.org
Greetings,

Please provide a records of all individual blocked on social media accounts operated by Carson City especially the
Sheriff's Office over the last 10 years. Provide a record of every comment ever deleted from Carson City social media
account. Provide the name of the employee responsible for deleting and blocking. Provide any memo policy or any other
record dealing with social media.

Respectfully,
Drew Ribar

Auditing Reno 911
775-223-7899

Adam Tully <ATully@carson.org> Mon, Jan 29, 2024 at 4:17 PM
To: "const2audit@gmail.com” <const2audit@gmail.com> .
Ce: Record Requests <RecordRequests@carson.org>

Hello Mr. Ribar,

In response to your January 22, 2024, request for public records, attached please find Carson City’s Social
Media Policy.

As to your request for records concerning individuals blocked and comments deleted over a ten year period,
the City requires additional time to compile and review potentially responsive documents. Pursuant to NRS
239.0107(1)(c), the earliest date and time by which the City reasonably believes any responsive records will
be available for disclosure is 5:30pm on Friday, February 9, 2024. I'll check in with you again on or before

that date and time.

Best,

Adam Tully, Esq.

Deputy District Attorney

Carson City District Attorney’s Office
885 E. Musser St., Ste. 2030
Carson City, NV 89701

(775) 887-2070

https Amail.google.com/mail/u/0/7ik=39bab920de&view=pt&search=all&permthid=thread-a:r-26698996545581 44400&simpl=msg-a:1879834479 18862... 1/4

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3/28/25, 11:02 AM : Gmail - Record Request Social Media Deletions
atully@carson.org

From: Const2Audit <const2audit@gmail.com>

Sent: Monday, January 22, 2024 11:20 AM

To: Record Requests <RecordRequests@carson.org>
Subject: Record Request Social Media Deletions

This message originated outside of Carson City’s email system. Use caution if this message contains
attachments, links, or requests for information.

[Quoted text hidden}

7 City Social Media Policy.pdf
808K

Adam Tully <ATully@carson.org> Thu, Feb 8, 2024 at 4:38 PM
To: "const2audit@gmail.com" <const2audit@gmail.com>
Cc: Record Requests <RecordRequests@carson.org>

Hello Mr. Ribar,

Attached you will find the 10-year history of comments deleted, hidden, or edited on the City’s social media
pages. As to records concerning individuals blocked, the City requires additional time to compile and review
potentially responsive documents. Pursuant to NRS 239.0107(1)(c), 5:30pm on Wednesday, February 14,
2024 is the earliest date and time by which the City reasonably believes responsive records concerning
individuals blocked will be available. Pll check in with you again on or before that date and time.

Best,

Adam Tully, Esq.

Deputy District Attorney

Carson City District Attorney's Office
885 E. Musser St., Ste. 2030
Carson City, NV 89701
775-283-7457

atully@carson.org
https ://mail.google.com/mail/u/0/7ik=39bab920de&view= pt&search=all&permthid=thread-a:r-26698996545581 44400&simpl=msg-a:1879834479 18862... 2/4

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3/28/25, 11:02 AM Gmail - Record Request Social Media Deletions
[Quoted text hidden}

g) 10 Years - Commentes deleted, hidden, edited.xisx
“1307K

Const2Audit <const2audit@gmail.com> Thu, Feb 8, 2024 at 7:42 PM
To: Adam Tully <ATully@carson.org>
Ce: rich@mlreno.com
| appreciate your response.
11,653 instances of public comment deleted by the government on social media... May | suggest you look at the 9th
Circuit Ruling in Garnier v Oconner-Ratcliff and listen to the Supremes questions regarding public officials social media
pages...
YouTube link to Supreme Court oral arguments https://youtu.be/wmF gft Jm1-k?si=v_4KNDmeBadP8LFl

Similar actions by Woodland Colorado a Judge ordered the city to pay $65,000.00
https://youtu.be/OknmUaSJitc?si=kwiTcs02sTO7gEoz

Multiply $65k x 11,653 = $757,445 000
Please evaluate Carson City and its 1st Amendment compliance.
Respectfully,

Drew
(Quoted text hidden}

Adam Tully <ATully@carson.org> Wed, Feb 14, 2024 at 3:35 PM
To: Const2Audit <const2audit@gmail.com>

Hello Mr. Ribar,

Regarding your request for records concerning individuals blocked over the last 10 years, apologies, but the
City still requires additional time to compile and review potentially responsive documents. As I understand
it, the report for this data is not generating properly and we’re working on resolving that technical issue.
Pursuant to NRS 239.0107(1)(c), 5:30pm on Wednesday, February 21, 2024 is the earliest date and time by
which the City reasonably believes responsive records concerning individuals blocked will be available. I’ll
check in with you again on or before that date and time.

iQuoted text hidden}

Adam Tully <ATully@carson.org> Wed, Feb 21, 2024 at 9:15AM
To. Const2Audit <const2audit@gmail.com>

Hello Mr. Ribar,

See the attached reports concerning individuals blocked over the last 10 years. I believe the City has
provided all existing documents responsive to your request, so I’Il be closing this record request at this time.

Best.

hitps://mail.google.com/mail/u/0/7ik=39bab920de&view=pt&search=all&permthid =thread-a:r-2669899654558144400&simpl=msg-a:18798344791 8862... 3/4

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3/28/25, 11:02 AM Gmail - Record Request Social Media Deletions

Adam Tully, Esq.

Deputy District Attorney

Carson City District Attorney’s Office
885 E. Musser St., Ste. 2030
Carson City, NV 89701
775-887-2070

[Quoted text hidden]

10 attachments

Q CC MotorUnit.csv
1K

D CC Parks.csv
1K

Q CC Senior Center.csv
3K

CC Sheriffs.csv
QO
6K

“y Safe Routes to School.csv
Dik

QD CC Gov Twitter.csv
1K

Q CC Health.csv
1K

0 CC K9Unit.csv
1K

https://mail.google.com/mail/u/0/?ik=39bab920de&view=pt&search=all&permthid=thread-a: r-2669899654558144400&simpl=msg-a:18798344791 8862...

4/4

